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                                                             [Docket # 24]

                      IN THE UNITED STATES DISTRICT
                      COURT FOR THE DISTRICT OF NEW
                          JERSEY CAMDEN VICINAGE



  HELEN THOMAS-FISH,                       Civil No. 17-10648 (RMB/KMW)

                    Plaintiff,             MEMORANDUM OPINION AND ORDER
                                           SEVERING THE CLAIMS AGAINST
        v.                                 THE DELAWARE DEFENDANTS AND
                                           TRANSFERRING THOSE CLAIMS TO
  AETNA STEEL PRODUCTS CORP., et           THE DISTRICT OF DELAWARE
  al.,

                    Defendants.



      This matter comes before the Court upon the Court’s Order

to Show Cause why this case should not be transferred to the

District of Delaware or another more convenient District [Docket

# 21], and Defendants’ Motion to Transfer this case to the

District of Delaware [Docket # 24], filed in response to the

Court’s Order to Show Cause.

      The Court has carefully considered the issues raised in the

parties’ submissions at Docket Entries 24, 25, 27 and 28 and

concludes the following.       First, Plaintiff opposes transfer

primarily arguing that transfer is “not possible” because two of

the ten Defendants to this suit (excluding the “John Doe”

Defendants)-- Sonic Industries, Inc. / RBC Sonic (“Sonic”) and

Aetna Steel Products Corporation (“Aetna Steel”)-- might not be


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subject to personal jurisdiction in Delaware. 1         However,

Defendants respond, and the Court agrees, that severing Sonic

and Aetna Steel is a viable option, thereby allowing the

transfer of the claims against the other eight Defendants to the

District of Delaware.      See D’Jamoos ex rel. Estate of Weingeroff

v. Pilatus Aircraft Ltd., 566 F.3d 94, 110 (3d Cir. 2009)(“in

applying 28 U.S.C. § 1404(a) . . . we have held that where a

case could have been brought against some defendants in the

transferee district, the claims against those defendants may be

severed [pursuant to Fed. R. Civ. P. 21] and transferred while

the claims against the remaining defendants, for whom transfer

would not be proper, are retained.”)(citing White v. ABCO Eng’g

Corp., 199 F.3d 140, 144 (3d Cir. 1999)).

      Moreover, severing and transferring the claims against the

eight Delaware Defendants furthers interests of judicial economy

because transfer will moot those Defendants’ argument that the

District of New Jersey lacks personal jurisdiction over them.

[See Dkt # 15, 28]      This outcome undermines Plaintiff’s

assertion that severance will be “inefficient.” [Dkt # 27, p. 2

n. 3]




1 At this time, the Court makes no holding concerning any
court’s personal jurisdiction over Sonic and Aetna Steel. The
parties agree that the eight Defendants which are incorporated
in Delaware and/or maintain their principal place of business in
Delaware are subject to general jurisdiction in Delaware.
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       Second, the Court’s balancing of the Jumara factors (set

forth in the Order to Show Cause) supports transfer of the

claims against the Delaware Defendants to the District of

Delaware.    As the Court observed previously, venue in this

District is based upon the tenuous connection that “the alleged

asbestos exposure allegedly occurred on a U.S. government-owned

ship docked in Camden, New Jersey during 1960,” almost 60 years

ago.    [Dkt. #21, p. 3]    On the other hand, the connection to

Delaware is much clearer.       Plaintiff does not dispute

Defendants’ assertion that seven of the nine physicians who

treated the decedent have Delaware addresses, whereas none have

New Jersey addresses.      [Dkt. # 24, p. 6]

       The remaining factors do not alter the Court’s conclusion

as they are neutral.      For example, the parties dispute whether

New Jersey law or maritime law will apply to Plaintiff’s claims,

thereby precluding any conclusion at this time as to which

District-- New Jersey or Delaware-- would be more familiar with

the applicable law.      Similarly, the enforceability of any

potential judgment and the public policies of the fora do not

appear at this time to be significant considerations in this

case.

       Lastly, Plaintiff emphasizes that the decedent lived and

worked in New Jersey in 1960-- almost 60 years ago-- when the

alleged exposure occurred over the course of a single year.

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However, in the Court’s view, the more pertinent inquiry is

Plaintiff’s location when this suit was filed.           Plaintiff’s

residence, not decedent’s residence when his claim allegedly

arose so long ago, is more pertinent to each forum’s interests

in adjudicating controversies local to it.          That is, Plaintiff’s

status as a Delaware resident who is bringing suit against

Delaware Defendants renders this case of most concern to

Delaware, and therefore outweighs Plaintiff’s forum choice of

New Jersey.

      THEREFORE, IT IS on this 7th day of August 2018,

hereby:

      ORDERED that:

      (1)   The claims against Defendants Avborne Accessory Group,

          Inc.; Dover Corporation; Dover Engineered Systems, Inc.;

          RBC Bearings, Incorporated; Sargent Aerospace & Defense,

          LLC; Sargent Industries, Inc.; RBC Sargent Airtomic; and

          Roller Bearing Company Of America, Inc. are SEVERED

          pursuant to Fed. R. Civ. P. 21 and TRANSFERRED to the

          United States District Court for the District of

          Delaware, pursuant to 28 U.S.C. § 1404(a); and

      (2)   As to the remaining claims against RBC Sonic / Sonic

          Industries, Inc., and Aetna Steel Products Corporation,

          the Court will hold a telephonic pre-motion conference

          concerning RBC Sonic / Sonic Industries, Inc.’s proposed

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          motion to dismiss for lack of personal jurisdiction [see

          Dkt No. 15] on September 7, 2018 at 9:30 a.m.          Counsel

          for Sonic shall kindly initiate the call.




                                          s/ Renée Marie Bumb


                                     RENÉE MARIE BUMB
                                     UNITED STATES DISTRICT JUDGE




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